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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                      David Green, Jr.,
                         Plaintiff
                            v.                                      )       Civil Action No.        6:20-cv-02754-TMC
                                                                    )
                                                                    )
 Director Bodiford; South Carolina, The State of; 13th              )
 Circuit Judge Letitia Verdin; County of Greenville,                )
 The; Sgt. Hall; Sgt. Gantt; Ofc. Burrris; Ofc. Neely,
                      Defendants

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)          recover from the defendant (name)             the amount of                          dollars ($ ),
which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of                   %, along with
costs.

O The plaintiff, David Green, Jr., shall take nothing of the defendants, Director Bodiford, South Carolina, The State of,
13th Circuit Judge Letitia Verdin, County of Greenville, The, Sgt. Hall, Sgt. Gantt, Ofc. Burrris and Ofc. Neely, and this
action is dismissed with prejudice.

This action was (check one):

’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Timothy M. Cain, United States District Judge, presiding, adopting the Report and
Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge, which recommended dismissing
the action.

Date: September 21, 2020                                                   ROBIN L. BLUME, CLERK OF COURT


                                                                                                  s/L. Baker
                                                                                        Signature of Clerk or Deputy Clerk
